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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                               Case No. 4:12CR00306-07 KGB

AMY BETH DODD                                                                       DEFENDANT
                                             ORDER

       Before the Court is defendant Amy Beth Dodd’s motion for pre-plea presentence report (Dkt.

No. 508). Ms. Dodd requests a pre-plea presentence report to inform her decision on how to

proceed.

       Ms. Dodd currently is set to enter a plea in this case on February 27, 2014 (Dkt. No. 490),

and that date has been set since the Court entered an order February 18, 2014. The proceeding at

which Ms. Dodd was set to enter a plea is removed from the docket. The Court takes under

advisement Ms. Dodd’s request for a pre-plea presentence report.

       This is a multi-defendant case involving allegations of conspiracy to possess with intent to

distribute methamphetamine. Trial in this matter currently is set for the week of March 24, 2014

(Dkt. No. 319), and that date has been set since the Court entered an order July 3, 2013. Ms. Dodd

requests no continuance of the trial date in this matter, although she represents that she will waive

any speedy trial time associated with the delay resulting from this request. Federal Rule of Criminal

Procedure 32 and General Order No. 43 govern the preparation and disclosure of a presentence

report. The Court takes Ms. Dodd’s request for a pre-plea presentence report under advisement.

       IT IS SO ORDERED this 26th day of February, 2014.



                                                      _________________________________
                                                      KRISTINE G. BAKER
                                                      UNITED STATES DISTRICT JUDGE
